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   '\'   AO 106 (Rev. 04/10) Application for a Search Warrant
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                                                                                                                         CLE R" us DISTHIC r C()LJ,--n
                                                                                                                      SOUTHE RN DIS"fR1CT OF CALIFORN IA
                                                                                                                      BY                         DEPUTY
                         In the Matter of the Search of                                  )
                   (Briefly describe the property to be searched
                    or identify the person by name and address)
                                                                                         )
                                                                                         )           Case No.            19MJ 51 15
                               Huawei DRA-LX3 phone                                      )
                             IMEI No. 867050042356870                                    )
                                                                                         )

                                                            APPLICATION FOR A SEARCH WARRANT
                 I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
         penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
         prJ).J)erty. /Q be, searched and ~ive it:, /o cqtion) : .
           ::,ee Attacnment A mcorportatea nerem by reference


         located in the            Southern District            District of                  California             , there is now concealed (identify the
         person or describe the property to be seized) :
           See Attachment B incorportated herein by reference


                     The basis for the search under Fed. R. Crim. P. 41 ( c) is (check one or more):
                            ~ evidence of a crime;
                            0 contraband, fruits of crime, or other items illegally possessed;
                            0 property designed for use, intended for use, or used in committing a crime;
                            0 a person to be arrested or a person who is unlawfully restrained.

                     The search is related to a violation of:
                       Code Section             I                                                  Offense Description
                 Title 21 , United States Code,                      Importation of a Controlled Substance, Conspiracy to Import a Controlled
                 Section(s) 952, 960 , and 963                       Substance

                   The application is based on these facts:
                  See attached affidavit of Special Agent Steven R. Merklein


                     0 Continued on the attached sheet.
                     0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
                       under 18 U.S.C. § 3103a, the basis of which is set forth on the a~~ sheet.


                                                                                         _ _ __,;: .__r;_~- '-------=--------------
                                                                                                                   Appticant 's signature

                                                                                                          Steven R. Merklein, Special Agent, HSI
                                                                                                                   Printed name and title

         Sworn to before me and signed in my presence.


         Date       ~

         City and state: San Diego, California
                                                                                                  A1::.;~
                                                                                              Hon . Andrew G. Schopler, United States Magistrate Judge
                                                                                                                   Printed name and title
  Case 3:19-mj-05115-AGS Document 1 Filed 11/15/19 PageID.2 Page 2 of 10


                                ATTACHMENT A

                          PROPERTY TO BE SEARCHED

The following property is to be searched:

      Huawei DRA-LX3 phone
      IMEINo. 867050042356870
       ("Target Device")

The Target Device is currently in the possession of Homeland Security
Investigations, 2255 Niels Bohr, San Diego, CA 92154.
   Case 3:19-mj-05115-AGS Document 1 Filed 11/15/19 PageID.3 Page 3 of 10


                                  ATTACHMENT B

                                ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A
includes the search of disks, memory cards, deleted data, remnant data, slack space, and
temporary or permanent files contained on or in the cellular telephone for evidence
described below. The seizure and search of the cellular telephone shall follow the
search methodology described in the affidavit submitted in support of the warrant.

      The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from
various third-party applications, photographs, audio files, videos, and location data, for
the period from May 14, 2019 through July 15, 2019:

       a.    tending to indicate efforts to import methamphetamine, or some other
             federally controlled substance, from Mexico into the United States;

       b.    tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate the importation of methamphetamine, or some other federally
             controlled substance, from Mexico into the United States;

       c.    tending to identify co-conspirators, criminal associates, or others involved
             in importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States;

       d.    tending to identify travel to or presence at locations involved in the
             importation of methamphetamine, or some other federally controlled
             substance, from Mexico into the United States, such as stash houses, load
             houses, or delivery points;

       e.    tending to identify the user of, or persons with control over or access to,
             the Target Device; and/or

       f.    tending to place in context, identify the creator or recipient of, or establish
             the time of creation or receipt of communications, records, or data involved
             in the activities described above;

which are evidence of violations of Title 21 , United States Code, Sections 952, 960, and
963.
        Case 3:19-mj-05115-AGS Document 1 Filed 11/15/19 PageID.4 Page 4 of 10



 1                                          AFFIDAVIT
 2         I, Special Agent Steven R. Merklein, being duly sworn, hereby state as follows:
 3                                        INTRODUCTION
 4      1. I submit this affidavit in support of an application for a warrant to search the
 5 II      following electronic device:
 611                    Huawei DRA-LX3 phone
 7                      IMEI No. 867050042356870
 8                      ("Target Device")
 9 II as further described in Attachment A, and to seize evidence of crimes, specifically
10 II violations of Title 21, United States Code, Section(s) 952, 960, and 963, as further
11 II described in Attachment B.
12      2. The requested warrant relates to the investigation and prosecution of Jose Eduardo
13 II GARCIA ("GARCIA") for importing approximately 16.78 kilograms (36.99 pounds) of
14 II methamphetamine from Mexico into the United States. See US. v. Jose Eduardo Garcia,
15 II Case No. 19-mj-2928-KSC (S.D. Cal.) at ECF No. 1 (Complaint). The Target Device is
16 II currently in the evidence vault located at 2255 Niels Bohr Ct, San Diego, CA 92154.
17      3. The information contained in this affidavit is based upon my training, experience,
18 II investigation, and consultation with other members of law enforcement. Because this
19 II affidavit is made for the limited purpose of obtaining a search warrant for the Target
20 II Device, it does not contain all the information known by me or other agents regarding this
21 II investigation. All dates and times described are approximate.
22                                        BACKGROUND
23 II      1.    I am a special agent employed by the Department of Homeland Security
24 II (DHS), Immigration and Customs Enforcement (ICE), Homeland Security Investigations
25 II (HSI). I have been employed as a special agent since November of 2018, whereby I am an
26 II investigative or law enforcement officer within the meaning of Title 18, United States
27 II Code, Section 2510(7); that is, an officer of the United States, who is empowered by law
28 II to conduct investigations of and to make arrests for offenses enumerated in Title 18, United

                                                 1
        Case 3:19-mj-05115-AGS Document 1 Filed 11/15/19 PageID.5 Page 5 of 10



 1 II States Code, Section 2516.     I am currently assigned to the San Ysidro Contraband
 211 Smuggling Group Three. I am a graduate of the Federal Law Enforcement Training Center
 3 II in Glynco, Georgia.
 4 II      2.     During my tenure with HSI, I have participated in the investigation of various
 5 II drug trafficking organizations involved in the importation and distribution of controlled
 6 II substances into and through the Southern District of California.
 7 II      3.     Prior to joining HSI, I was employed as a United States Border Patrol Agent
 8 II (USBP). While employed as a Border Patrol Agent I served as a Task Force Officer (TFO)
 911 on a Drug Enforcement Administration (DEA) Narcotics Task Force and worked on both
1O II sector and station level intelligence and abatement teams. I also previously served in the
11 II United States Army from 1998 to 2004, serving as an infantry Non-Commissioned Officer.
12 II I received an Associates of Science in Criminal Justice degree from Springfield Technical
13 II Community College in 2002.
14 II      4.     During my employment as a border patrol agent and work as a TFO, I've
15 11 conducted criminal investigations for multiple violations of federal and state laws including
16 II but not limited to alien smuggling, narcotics smuggling, and organized criminal activity. I
17 II have conducted and/or assisted in more than 50 investigations involving controlled
18 II substances. I have participated in several controlled purchases of narcotics with the use of
19 II confidential informants ("Cls") and I have personally conducted hand-to-hand drug
20 II transactions while operating in an undercover capacity. I have authored and/or participated
21 II in the execution of narcotic-related arrests and search warrants for violations involving
22 II controlled substances, including heroin, methamphetamine, cocaine, ecstasy, LSD,
23 II marijuana, and pharmaceuticals. Through these investigations, I have gained extensive
24 II knowledge from users of narcotics, sellers of narcotics, Cls and veteran narcotics detectives
25 II regarding the manner in which narcotics are sold, distributed, transported, stored,
26 II concealed and ingested.
27 II      5.     In addition to my experience, I have received multiple formal trainings related
28 II to conducting controlled substance investigations. These courses primarily focused on the

                                                 2
        Case 3:19-mj-05115-AGS Document 1 Filed 11/15/19 PageID.6 Page 6 of 10



 1 II identification of controlled substances, case management/development, managing Cis,
 2 II tactical street operations, undercover operations, surveillance operations, highway
 3 II interdiction, hidden compartments and various methods of drug trafficking and human
 4 II smuggling. In addition to these courses, I was previously certified by the California
 5 II Attorney General to conduct wiretaps as authorized in California Penal Code Section
 6 11629.50 et seq.
 7 II      6.     Through my training, experience, and conversations with other members of
 8 II law enforcement, I have gained a working knowledge of the operational habits of narcotics
 9 II traffickers, in particular those who attempt to import narcotics into the United States from
10 II Mexico at Ports of Entry. I am aware that it is common practice for narcotics smugglers to
11 II work in concert with other individuals and to do so by utilizing cellular telephones. Because
12 II they are mobile, the use of cellular telephones permits narcotics traffickers to easily carry
13 II out various tasks related to their trafficking activities, including, e.g., remotely monitoring
14 II the progress of their contraband while it is in transit, providing instructions to drug couriers,
15 II warning accomplices about law enforcement activity, and communicating with co-
16 II conspirators who are transporting narcotics and/or proceeds from narcotics sales.
17 II      7.     Based upon my training, experience, and consultations with law enforcement
18 II officers experienced in narcotics trafficking investigations, and all the facts and opinions
19 II set forth in this affidavit, I know that cellular telephones (including their Subscriber
20 II Identity Module (SIM) card(s)) can and often do contain electronic evidence, including,
21 II for example, phone logs and contacts, voice and text communications, and data, such as
22 II emails, text messages, chats and chat logs from various third-party applications,
23 II photographs, audio files, videos, and location data. In particular, in my experience and
24 II consultation with law enforcement officers experienced in narcotics trafficking
25 II investigations, I am aware that individuals engaged in drug trafficking commonly store
26 II photos and videos on their cell phones that reflect or show co-conspirators and associates
2711 engaged in drug trafficking, as well as images and videos of drugs or contraband, proceeds
28

                                                   3
            Case 3:19-mj-05115-AGS Document 1 Filed 11/15/19 PageID.7 Page 7 of 10



 1 and assets from drug trafficking, and communications to and from recruiters and
 2 organizers.
 3              8.     This information can be stored within disks, memory cards, deleted data,
 4 II remnant data, slack space, and temporary or permanent files contained on or in the cellular
 5 II telephone. Specifically, searches of cellular telephones may yield evidence:
 6
                a.    tending to indicate efforts to import methamphetamine, or some other
 7                    federally controlled substance, from Mexico into the United States;
 8
                b.    tending to identify accounts, facilities, storage devices, and/or services-
 9                    such as email addresses, IP addresses, and phone numbers-used to
                      facilitate the importation of methamphetamine, or some other federally
10
                      controlled substance, from Mexico into the United States;
11
                C.    tending to identify co-conspirators, criminal associates, or others involved
12
                      in importation of methamphetamine, or some other federally controlled
13                    substance, from Mexico into the United States;
14
                d.    tending to identify travel to or presence at locations involved in the
15                    importation of methamphetamine, or some other federally controlled
                      substance, from Mexico into the United States, such as stash houses, load
16
                      houses, or delivery points;
17
                e.    tending to identify the user of, or persons with control over or access to,
18
                      the Target Device; and/or
19
                f.    tending to place in context, identify the creator or recipient of, or establish
20
                      the time of creation or receipt of communications, records, or data involved
21                    in the activities described above.
22                            FACTS SUPPORTING PROBABLE CAUSE
23
                9.    On July 14, 2019, at approximately 4:50 p.m., GARCIA applied for
24   11
          permission to enter the United States at the San Ysidro Port of Entry. The Defendant was
25
     II the driver and sole occupant of a 2010 Nissan Rogue bearing California license plates. A
26
   II Narcotics and Human Detection Dog (NHDD) alerted to the rear of the vehicle while it
27
   II was in the pre-primary inspection area of lane nine at the San Ysidro Port of Entry. The
2811 canine enforcement officer (CEO) opened the rear hatch of the vehicle where his NHDD
                                                      4
        Case 3:19-mj-05115-AGS Document 1 Filed 11/15/19 PageID.8 Page 8 of 10



 1 II immediately alerted to an inside rear quarter panel. The CEO inspected the quarter panel
 2 II finding multiple cellophane wrapped packages.      GARCIA was asked to exit the vehicle
 3 II and escorted to the security office. Further examination of the vehicle revealed a total of
 4 1135 cellophane wrapped packages that were removed from the quarter panels and the center
 5 II console of the vehicle. The packages had a total weight of 16.78 kilograms (36.99 pounds);
 6 II one of which field-tested positive for the characteristics of methamphetamine.
 7 II        10.   Based upon my experience and investigation in this case, I believe that the
 8 II Target Device contains evidence of violations of Title 21, United States Code, Sections
 9 11952, 960, and 963. Specifically, I believe that GARCIA and other persons yet unknown,
10 II were involved in an ongoing conspiracy to import methamphetamine, and other federally
11 II controlled substances into the United States.     Based on my experience investigating
12 II narcotics smugglers, I also believe that GARCIA may have used the Target Device to
13 II coordinate with co-conspirators regarding the importation and distribution of controlled
14 II substances, and to otherwise further this conspiracy both inside and outside of the United
15 States.
16           11.   In my training and experience, narcotics traffickers may be involved in the
17 II planning and coordination of a drug smuggling event in the days and weeks prior to an
18 II event. Co-conspirators are also often unaware of a defendant's arrest and will continue to
19 II attempt to communicate with a defendant after their arrest to determine the whereabouts of
20 II the narcotics. Based on my training and experience, it is also not unusual for individuals to
21 II attempt to minimize the amount of time they were involved in their smuggling activities,
22 II and for the individuals to be involved for weeks and months longer than they claim. Given
23 II this, I respectfully request permission to search the Target Device for data from May 14,
24112019 through July 15, 2019, which was the day following GARCIA's arrest.
25                                       METHODOLOGY
26           12.   It is not possible to determine, merely by knowing the cellular telephone's
27 II make, model and serial number, the nature and types of services to which the device is
28 II subscribed, and the nature of the data stored on the device. Cellular devices today can be

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       Case 3:19-mj-05115-AGS Document 1 Filed 11/15/19 PageID.9 Page 9 of 10



 1 II simple cellular telephones and text message devices, can include cameras, can serve as
 2 II personal digital assistants and have functions such as calendars and full address books and
 3 II can be mini-computers allowing for electronic mail services, web services an_d rudimentary
 4 II word processing. An increasing number of cellular service providers now allow for their
 5 II subscribers to access their device over the internet and remotely destroy· all the data
 6 II contained on the device. For that reason, the device may only be powered in a secure
 7 II environment or, if possible, started in "flight mode" which disables access to the network.
 8 II Unlike typical computers, many cellular telephones do not have hard drives or hard drive
 9 II equivalents and store information in volatile memory within the device or in memory cards
10 II inserted into the device. Current technology provides some solutions for acquiring some of
11 II the data stored in some cellular telephone models using forensic hardware and software.
12 II Even if some of the stored information on the device may be acquired forensically, not all
13 II the data subject to seizure may be so acquired. For devices that are not subject to forensic
14 II data acquisition or that have potentially relevant data stored that is not subject to such
15 II acquisition, the examiner must inspect the device manually and record the process and the
16 II results using digital photography. This process is time and labor intensive and may take
17 II weeks or longer.
18         13.    Following the issuance of this warrant, I will collect the subject cellular
19 II telephone and subject it to analysis. All forensic analysis of the data contained within the
20 II telephone and its memory cards will employ search p~otocols directed exclusively to the
21 II identification and extraction of data within the scope of this warrant.
22         14.    Based on the foregoing, identifying and extracting data subject to seizure
23 II pursuant to this warrant may require a range of data analysis techniques, including manual
24 II review, and, consequently, may take weeks or months. The personnel conducting the
25 identification and extraction of data will complete the analysis within 90 days, absent
26 further application to this court.
27
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        Case 3:19-mj-05115-AGS Document 1 Filed 11/15/19 PageID.10 Page 10 of 10



 1                       PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
 211         15.   Law enforcement has not previously attempted to obtain the evidence sought
 3 11 by this warrant.
 4                                         CONCLUSION
 5           16.   Based on the facts and information set forth above, there is probable cause to
 6 II believe that a search of the Target Device will yield evidence of GARCIA's violations of
 7 II Title 21, United States Code, Sections 952, 960, and 963.
 8           17.   Because the Target Device was seized at the time of GARCIA's arrest and
 9 II has been securely stored since that time, there is probable cause to believe that such
10 II evidence continues to exist on the Target Device. As stated above, I believe that the
11 II appropriate date range for this search is from May 14, 2019 through July 15, 2019.
12           18.   Accordingly, I request that the Court issue a warrant authorizing law
13 enforcement to search the item described in Attachment A and seize the items listed in
14 Attachment Busing the above-described methodology.
15
16 II I swear the foregoing is true and correct to the best of my knowledge and belief.


                                                 ~
17
18
                                             Special Agent Steven R. Merklein
19
                                             Homeland Security Investigations
2011                                                     ~
21   11
        Subscribed and sworn to before me this   J   5       day ofNovember, 2019.

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